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   7                        UNITED STATES DISTRICT COURT
   8                     SOUTHERN DISTRICT OF CALIFORNIA
   9   UNITED STATES OF AMERICA ,                    CASE NO. 14cr3057 WQH
 10                                   Plaintiff,     ORDER
           vs.
 11
       SONJA HOLDER(4).
 12
                                    Defendant.
 13 HAYES, Judge:
 14         The matters before the Court are the motion to suppress wiretap evidence filed
 15 by Defendant Sonja Holder (ECF No. 188).
 16                                BACKGROUND FACTS
 17         On October 21, 2014, the grand jury returned an indictment charging fourteen
 18 defendants including Defendant Sonja Holder, with conspiracy to distribute controlled
 19 substances in violation of 21 U.S.C. sections 841(a) and 846. (ECF No. 1).
 20         During the investigation which led to the indictment, the government sought and
 21 received authorization to conduct electronic surveillance on a total of twenty-nine target
 22 telephones over a period of nine months. The record shows that orders authorizing wire
 23 and electronic communications were signed by the district court on January 2, 2014;
 24 January 30, 2014; February 27, 2014; April 7, 2014; May 2, 2014; June 6, 2014; June
 25 20, 2014; July 24, 2014; and September 12, 2014. Each order was based upon an
 26 application and supported by an affidavit in support of the application. (ECF No. 247).
 27 Defendant Holder was intercepted in the background of a single phone call intercepted
 28 on phone line T-21 on June 9, 2014. (ECF No. 118 at 3, ECF No. 219 at 2). Defendant

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   1 moves the Court to “suppress evidence derived from the government’s wiretapping of
   2 cellular phones referred to in the June 6, 2014; June 20, 2014; July 24, 2014; and
   3 September 14, 2014 applications and orders.” (ECF No. 188 at 2).
   4                         CONTENTIONS OF THE PARTIES
   5        Defendant Holder moves the Court to suppress wire and electronic evidence on
   6 the grounds that there was not an adequate showing of necessity to intercept
   7 communications on T-21 in the June 6, 2014 wiretap application. Defendant contends
   8 that the initial decision to allow the interception of T-21 in the May 2, 2014 order was
   9 not supported by a showing that ordinary investigative techniques were utilized prior
 10 to the initial request to intercept the T-21 line. Because the May 2, 2014 order did not
 11 establish necessity to intercept the T-21 line, Defendant contends that the continued
 12 interception authorized in the June 6, 2014 order was not proper. Defendant further
 13 asserts that the Government failed to comply with the minimization requirements of 18
 14 U.S.C. section 2518(5) and the automatic termination requirements of 18 U.S.C. section
 15 2518(1)(d).
 16         The Government agrees that Defendant has standing to challenge the June 6,
 17 2014 order allowing the interception of T-21. The Government asserts that the facts
 18 contained in the affidavit supporting the May 2, 2014 order, and the affidavit supporting
 19 the June 6, 2014 order, provide a full and complete statement specific to the
 20 investigation to show that normal investigative procedures had been tried and failed or
 21 reasonably appeared to be unlikely to succeed and too dangerous. The Government
 22 contends that the intercept orders complied with all requirements of the statute.
 23                               RULING OF THE COURT
 24 Standing
 25         Defendant Holder moves the Court to suppress evidence intercepted pursuant to
 26 the June 6, 2014 order. Defendant Holder asserts that “it is necessary to work back in
 27 time” to the original interception of T-21 authorized by the May 2, 2014 order to
 28 determine necessity. (ECF No. 188 at 14). Defendant contends that the facts in the

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   1 May 2, 2014 affidavit demonstrate necessity as to other phone lines and do not
   2 demonstrate necessity to intercept T-21. Defendant asserts that the June 6, 2014 order
   3 authorizing the extension of T-21 was improperly issued “on information derived from
   4 the government’s original wiretapping of T-21.” Id. at 23.
   5        The Government contends that Defendant cannot challenge the necessity showing
   6 for the May 2, 2014 order because she was not a person against whom the interception
   7 order was directed. In addition, the Government contends that Defendant cannot use
   8 the “fruit of the poisonous tree” doctrine to challenge the May 2, 2014 order.
   9        “A defendant may move to suppress the fruits of a wiretap only if his privacy was
 10 actually invaded; that is, if he was a participant in an intercepted conversation, or if such
 11 conversation occurred on his premises.” United States v. King, 478 F.2d 494, 506 (9th
 12 Cir. 1973). Defendant has no standing to challenge the May 2, 2014 wiretap order
 13 because she was not a participant in a conversation intercepted pursuant to this order.
 14 Defendant has standing to challenge the necessity determination for the June 6, 2014
 15 order as well as the facts in the affidavit in support of the May 2, 2014 order
 16 incorporated into the affidavit in support of the June 6, 2014 order. (ECF No. 247 at
 17 367).
 18 Necessity
 19         Wiretap authorizations are governed by the Omnibus Crime Control and Safe
 20 Streets Act, 18 U.S.C. §§ 2510-2522.         “To obtain a wiretap, the government must
 21 overcome the statutory presumption against this intrusive investigative method by
 22 proving necessity.” United States v. Rivera, 527 F.3d 891, 897 (9th Cir. 2008)(citations
 23 omitted). The purpose of this requirement is to “assure that wiretapping is not resorted
 24 to in situations where traditional investigative techniques would suffice to expose the
 25 crime.” United States v. Kahn, 415 U.S. 143, 153 n.12 (1974).
 26         Section 2518(1)(c) provides that the affiant in support of an application for a
 27 wiretap must provide “a full and complete statement as to whether or not other
 28 investigative procedures have been tried and failed or why they reasonably appear to

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   1 be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). “Each
   2 wiretap application, standing alone, must satisfy the necessity requirement.” United
   3 States v. Carneiro, 861 F.2d 1171, 1176 (9th Cir. 1988) (emphasis in original). The
   4 “full and complete statement” requirement of Section 2518(1)(c) is satisfied where the
   5 affidavit provides “specific probative facts” which “show with specificity why in this
   6 particular investigation ordinary means of investigation will fail.” United States v.
   7 Commito, 918 F.2d 95, 97-98 (9th Cir. 1990) (quotation omitted) (emphasis in original).
   8 A judge must “determine that the ordinary investigative technique employing a normal
   9 amount of resources have failed to make the case within a reasonable period of time.”
 10 United States v. Spagnuolo, 549 F.2d 705, 711 (9th Cir. 1977). However, “the
 11 government need not exhaust every conceivable investigative technique in order to
 12 show necessity.” United States v. Bennett, 219 F.3d 1117, 1122 (9th Cir. 2000)(citation
 13 omitted).
 14         In this case, Defendant Holder was intercepted in the background of a single
 15 phone call on June 9, 2014 intercepted on the T-21 line. The interception of T-21 was
 16 authorized as a part of an investigation of a drug trafficking organization in the Los
 17 Angeles area over a period of approximately nine months. The initial wiretap was
 18 authorized on January 2, 2014 for the wire and electronic communications of Antonia
 19 Hernandez and Ruben Tovar-Ordonez as a part of the investigation into the distribution
 20 of cocaine, methamphetamine, and marijuana. Subsequent wire interception orders
 21 orders were issued on January 30, 3014 and on February 27, 2014.
 22         In support of the April 7, 2014 application, the affiant identified a previous
 23 investigation of the target subjects in the Los Angeles investigation by government
 24 agents in Tampa, Florida. Through a cooperating defendant in the Tampa investigation,
 25 the affiant discovered that target subjects in the Los Angles investigation had also
 26 supplied cocaine to a Jamaican male known as “El Papa,” a New York based cocaine
 27 distributor. The cooperating defendant stated that El Papa had traveled to Los Angeles,
 28 California to coordinate cocaine purchases with target subjects in the Los Angeles

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   1 investigation and that El Papa uses female narcotics couriers to smuggle cocaine from
   2 California to New York.
   3        In support of the May 2, 2014 application, the affiant informed that court that a
   4 telephone number referred to as T-21 was believed to be subscribed to “Papa.” The
   5 affiant described “Papa” as a new primary target subject of the May application,
   6 believed to be a narcotics distributor in New York who acquired cocaine and
   7 methamphetamine from the target subjects of the Los Angeles investigation. Based
   8 upon intercepts, and information from the Tampa investigation, the affiant stated that
   9 Papa had traveled to Southern California to oversee the purchase and shipment of
 10 narcotics from Southern California to New York.               The affiant detailed wire
 11 communications between Papa using the T-21 line and a target subject using the T-8
 12 line discussing a suspected drug transaction on April 21, 2014.
 13         In the necessity section of the May 2, 2014 affidavit, the affiant described the
 14 particular traditional techniques that had been employed to investigate Papa. The
 15 affiant described attempted physical surveillance based upon intercepted calls, which
 16 resulted in a suspect correctly identifying vehicles that participated in the surveillance,
 17 and failed to identify a completed delivery involving Papa believed to have been
 18 coordinated over other telephone lines. The affiant reviewed the problems using
 19 confidential sources and undercover operations discussed in prior affidavits and detailed
 20 the success of the execution of a state search warrant in identifying another suspect.
 21 The affiant stated that “the initial interception of T-21, used by FNU LNU, aka Papa,
 22 is necessary for the following reasons: first to fully identify Papa; second, to identify
 23 the type and quantity of narcotics that RAMIREZ and NORBERTO are supplying to
 24 the New York area in collaboration with Papa; third, to identify how Papa is shipping
 25 from California to New York and how Papa is returning the drug proceeds to
 26 RAMIREZ and NORBERTO; and fourth, to identify and investigate Papa’s distribution
 27 network in New York.” (ECF No. 247 at 332-33.) The issuing judge concluded that
 28 normal investigative procedures have been tried and failed, reasonably appear to be

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   1 unlikely to succeed if tried, or are too dangerous to employ; and that there was probable
   2 cause to believe that T-21 was being, and will continue to be, used in connection with
   3 the commission of criminal activity. The issuing judge authorized the initiation of the
   4 interception of wire and electronic communications to and from T-21 in the May 2,
   5 2014 order. (ECF No. 247 at 281).
   6         In the affidavit in support of the June 4, 12014 application, the affiant informed
   7 the issuing judge that he had identified ‘Papa’ as Doyley and also identified “HOLDER
   8 for the first time as one of DOYLEY’s associate.” Id. at 373. The affiant described
   9 intercepts of T-21 on May 15, 2014, and physical surveillance established on Doyley
 10 on a number of occasions based upon on-going wiretap interceptions and other
 11 information. Through the intercepts and physical surveillance, the affiant located the
 12 identity of the shipping company used by Doyley and Holder to ship narcotics, and law
 13 enforcement conducted a seizure of narcotics on May 27, 2014 at the shipping
 14 company. The affiant described the attempts made to use confidential sources and
 15 undercover operations. The affiant described witness interviews of the employees of
 16 at the shipping company, the seizure and search of boxes containing narcotics that
 17 Doyley had purchased from target subjects, and a state search warrant to track a rental
 18 vehicle used by Doyley. The affiant described an investigation in New Jersey by DEA
 19 agents into Doyley noting that the New Jersey DEA has not gathered evidence to
 20 achieve the goals of this investigation, including fully identifying Doyley’s distribution
 21 channels. The affiant stated,
 22          [t]he continued interception of T-21 is necessary to learn when DOYLEY
             intends to return to California from New Jersey to acquire additional
 23          cocaine and fentanyl from RAMIREZ, something that DOYLEY has
             indicated on prior intercepts over T-21 that he plans to do. Knowing when
 24          DOYLEY plans to acquire additional cocaine and fentanyl from
             RAMIREZ will allow me to further my investigation of DOYLEY’s
 25          suspected cocaine and fentanyl distribution channels in New Jersey. One
             of the goals of this investigation is to identify any sub-distributors of the
 26          fentanyl, in particular, because the distribution of fentanyl in New Jersey
             has been linked to many deaths.
 27
       (ECF No. 247 at 399). The issuing judge authorized the initiation the continued
 28
       interception of wire and electronic communications to and from T-21 in the June 6,

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   1 2014 order.
   2         Defendant Holder was intercepted under the June 6, 2014 order and has not
   3 challenged the accuracy of any facts incorporated into the June 6, 2014 affidavit in
   4 support of the June 6, 2014 application to continue the interception of T-21. “Each
   5 wiretap application, standing alone, must satisfy the necessity requirement.” Carneiro,
   6 861 F.3d at 1176. In addition, an extension affidavit is to provide “a statement setting
   7 forth the results thus far obtained from the interception, or a reasonable explanation of
   8 the failure to obtain such results.” 18 U.S.C. §2518(f). “The issuing court is required
   9 to make the same findings for an extension order as it is for an original order.” United
 10 States v. Brone, 792 F.2d 1504, 1506 (9th Cir. 1986).
 11          The affiant in this case did not rely upon conclusory statements and provided
 12 specific probative facts in each affidavit in support of each application. The issuing
 13 judge reasonably concluded that the affiant made a sufficient showing that ordinary
 14 investigative procedures, employed in good faith, would likely be ineffective in the June
 15 6, 2014 affidavit. The objectives of the investigation included developing sufficient
 16 evidence to prosecute the target subjects and unidentified co-conspirators involved in
 17 the distribution of narcotics in California and New Jersey, and identifying the locations
 18 where the drugs and proceeds are stored. The affiant informed the issuing judge that
 19 the drug distribution involving the T-21 line was current, and ongoing. The affiant
 20 informed the judge that physical surveillance had significantly advanced the
 21 investigation, and that physical surveillance was only possible due to particular
 22 information obtained through wiretap intercepts. The affiant informed the issuing judge
 23 that confidential sources were not in a position to obtain information that would
 24 accomplish the objectives of the investigation, and that undercover operations could not
 25 be successful. The affiant described his efforts to obtain information from the
 26 employees of the company used by Papa/Doyley to ship narcotics which was helpful
 27 in confirming other information regarding the extent of the drug distribution. The
 28 affiant disclosed the information known to the investigation regarding Papa/Doyley to

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   1 the issuing judge and requested authorization to continue to intercept T-21 in order to
   2 learn when Doyley intends to return to California from New Jersey to acquire additional
   3 cocaine and fentanyl. The affiant informed the issuing judge that Doyley indicated on
   4 prior intercepts over T-21 that he planned to return to acquire additional narcotics. The
   5 affiant informed the issuing judge that knowing when Doyley plans to acquire the drugs
   6 would allow the investigators to identify sub-distributors of fentanyl, a potent drug that
   7 had caused numerous deaths from the use of heroin laced with fentanyl.
   8         The issuing judge reasonably concluded that the affiant made a sufficient
   9 showing that T-21 was currently used in criminal activity, that the continued intercept
 10 of T-21 was necessary to learn when Doyley intended to return to California to acquire
 11 cocaine and fentanyl, and that “ordinary investigative procedures, employed in good
 12 faith, would likely be ineffective in the particular case.” United States v. McGuire, 307
 13 F.3d 1192, 1196 (9th Cir. 2002). While the investigation had produced some results,
 14 the issuing judge reasonably concluded that the goals of the investigation had not yet
 15 been achieved, and that “ordinary investigative technique employing a normal amount
 16 of resources [would] fail to make the case with a reasonable time.” Spagnuolo, 549
 17 F.2d at 711.
 18 Probable cause and Minimization
 19          Defendant contends that there was not an adequate showing of minimization.
 20 Defendant asserts that the June 6, 2014 application listed seventy-five targets with
 21 broad goals for the interception. Defendant contends that the minimization requirement
 22 is useless where probable cause is not shown as to all targets and specific goals of the
 23 investigation. The Government asserts that the authorization for interception of
 24 communications for a broad range of targets and criminal activity was supported by the
 25 facts set forth in the affidavit.
 26          Section 2518(5) requires that the Government conduct wire intercepts so as to
 27 “minimize the interception of communications not otherwise subject to interception.”
 28 18 U.S.C. § 2518(5). The Government has the burden to show minimization. United

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   1 States v. Torres, 908 F.2d 1417 (9th Cir. 1990). In Torres, the Court of Appeals
   2 explained:
   3        Minimization requires that the government adopt reasonable measures to
            reduce the interception of conversations unrelated to the criminal activity
   4        under investigation to a practical minimum while permitting the
            government to pursue legitimate investigation. The standard for
   5        minimization is reasonableness.
   6 Id. at 1423 (citations omitted). “The mere interception of calls unrelated to the drug
   7 conspiracy does not indicate a failure to meet the minimization requirement.” Id.
   8        In this case, the June 6, 2014 application and order contained reasonable
   9 minimization procedures. There are no facts to support the conclusion that any target
 10 of the investigation or any goal of the investigation was not proper. Defendant provides
 11 no calls which Defendant asserts should have been minimized and no suggestion that
 12 any minimization procedure was inadequate. The record demonstrates minimization
 13 efforts in accordance with 18 U.S.C. section 2518(5).
 14 Automatic termination
 15         Section 2518(1)(d) requires that each application for wire intercept include “a
 16 statement of the period of time for which the interception is required to be maintained.”
 17 18 U.S.C. § 2518(1)(d). This section states, “If the nature of the investigation is such
 18 that the authorization for interception should not automatically terminate when the
 19 described type of communication has been first obtained, a particular description of
 20 facts establishing probable cause to believe that additional communications of the same
 21 type would occur thereafter.” 18 U.S.C. § 2518(1)(d).
 22         Defendant contends that no description of facts is set forth in the affidavit in
 23 support of the June 6, 2014 application. The government contends that the affiant
 24 explained in great detail throughout the successive affidavits the large-scale, on-going
 25 drug trafficking conspiracy, and the goals of the investigation.
 26         In this case, the affiant stated at the conclusion of the affidavit:
 27         Based on facts above, the subjects appear engaged in long-term, ongoing
            criminal activity. Accordingly, I request that authorization to intercept not
 28         stop when the first sought-after communication is intercepted, but continue
            until the full scope of the enterprise is uncovered (including the identity

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  1         of all participants, their places and methods of operation, and the various
            activities in furtherance of the enterprise) or for thirty days, whichever is
  2         earlier.
  3 (ECF No. 247 at 401). The issuing judge ordered that “the interception of wire and/or
  4 electronic communications authorized by this Court’s order must terminate upon
  5 attainment of the authorized objectives or, in any event, at the end of thirty (30) days,
  6 whichever is earlier.” Id. at 414. The facts set forth by the affiant were sufficient to
  7 support the authorization of the issuing judge. The Court concludes that the order
  8 complied with the requirements of 18 U.S.C. § 2518(1)(d).
  9                                      CONCLUSION
 10         IT IS HEREBY ORDERED that the motion to suppress wiretap evidence filed
 11 by Defendant Sonja Holder (ECF No. 188) is denied.
 12 DATED: July 16, 2015
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 15                                             WILLIAM Q. HAYES
                                                United States District Judge
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